 Case 5:97-cr-00003-LGW-BWC Document 1821 Filed 06/15/07 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT FO R
                  THE SOUTHERN DISTRICT OF GEORGIA
                                                                       7
                          WAYCROSS DIVISION

JAMES HENRY BAISDEN


     Petitioner .
                                         CASE NO . 5 :97-CR-3
v.                    )                   5 :01-CV-2 8

UNITED STATES OF AMERICA

     Respondent .



                             O R D E R

     Before the Court are Petitioner's Motion to Vacate

Judgment (Doc . 1797 & 44) and Motion to Correct Judgment .

(Doc . 1817 .) In these Motions, Petitioner seeks to

challenge his sentence under Federal Rule of Civil

Procedure 60(b) and Federal Rule of Criminal Procedure 36 .

The factual basis for these motions is a decision by

Supreme Court of Georgia granting his petition for habeas

corpus relief as to certain state convictions .          Baisden v .

State of Georgia , 279 Ga . 702, 620 S .E .2d 369 (2005) .

Based on this decision, Defendant asks the Court for a

reduction of his federal sentence based on the overturning

of his prior state convictions . Accordingly, the Court

construes his letter as a petition for habeas corpus relief

made pursuant to 28 U .S .C . § 2255 .    Gonzalez v . Crosby , 545

U .S . 524, 531, 125 S . Ct . 2641, 162 L . Ed . 2d 480 (2005) .
Case 5:97-cr-00003-LGW-BWC Document 1821 Filed 06/15/07 Page 2 of 2




     Petitioner previously filed a § 2255 petition for

relief from his conviction and sentence in this matter .

Baisden v . United States , Case No . 5 :01-CV-28 (S .D . Ga .

petition filed April 11, 2001) . Before filing a second or

successive petition, he must receive certification from a

panel of the Eleventh Circuit Court of Appeals that his

petition is based on newly discovered evidence or a ne w

rule of constitutional law . 28 U .S .C . § 2255 . Petitione r

already sought certification from the Court of Appeals on

these grounds, and his request was denied initially and on

reconsideration . (Doc . 1797 at 2, 7-9 . )

     Because Petitioner has not obtained certification from

the Eleventh Circuit Court of Appeals, the Motions to

Vacate or Correct the Judgment are DENIED .

     SO ORDERED this   /$' day of June, 2007 .




                           WILLIAM T . MOORE, JR ., CHI' JUD
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGI A




                                2
